22-10964-mg          Doc 3115         Filed 07/28/23 Entered 07/28/23 23:55:43                     Main Document
                                                  Pg 1 of 23




UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                           )
    In re:                                                                 )     Chapter 11
                                                                           )
    CELSIUS NETWORK LLC, et al., 1                                         )     Case No. 22-10964 (MG)
                                                                           )
                                       Debtors.                            )     (Jointly Administered)
                                                                           )

                            NOTICE OF FILING OF PLAN SUPPLEMENT

      PLEASE TAKE NOTICE THAT, as contemplated by the Joint Chapter 11 Plan of
Reorganization of Celsius Network LLC and Its Debtor Affiliates [Docket No. 2807] (as modified,
amended, or supplemented from time to time, the “Plan”) 2, the Debtors hereby file the following
documents that are part of the supplement to the Plan (the “Plan Supplement”):

        Exhibit         Document

             A          Schedule of Released and Exculpated Parties

             B          Alternative Dispute Resolution Procedures

        PLEASE TAKE FURTHER NOTICE THAT, if you would like to obtain a copy of the
Disclosure Statement, the Plan, or related documents, you should contact Stretto, Inc., the Claims,
Noticing, and Solicitation Agent retained by the Debtors in these chapter 11 cases (the “Claims,
Noticing, and Solicitation Agent”), by: (a) calling the Debtors’ restructuring hotline at
(855) 423-1530 (Toll Free) or +1 (949) 669-5873 (International); (b) e-mailing the Claims,
Noticing, and Solicitation Agent at CelsiusInquiries@Stretto.com with a reference to “In re:
Celsius - Solicitation Inquiry” in the subject line; or (c) writing to the Claims, Noticing, and
Solicitation Agent at Celsius Inquiries, c/o Stretto 410 Exchange, Suite 100 Irvine, CA 92602.
You may also obtain copies of any pleadings filed with the Court for free by visiting the Debtors’
restructuring website, https://cases.stretto.com/Celsius/, or for a fee via PACER at:
http://pacer.psc.uscourts.gov.
1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Celsius Network LLC (2148); Celsius KeyFi LLC (4414); Celsius Lending LLC (8417); Celsius
      Mining LLC (1387); Celsius Network Inc. (1219); Celsius Network Limited (8554); Celsius Networks
      Lending LLC (3390); Celsius US Holding LLC (7956); GK8 Ltd. (1209); GK8 UK Limited (0893); and GK8
      USA LLC (9450). The location of Debtor Celsius Network LLC’s principal place of business and the Debtors’
      service address in these chapter 11 cases is 50 Harrison Street, Suite 209F, Hoboken, New Jersey 07030.

2     Capitalized terms not otherwise defined herein shall have the meaning given to them in the Plan or the Disclosure
      Statement for the Joint Chapter 11 Plan of Reorganization of Celsius Network LLC and Its Debtor Affiliates
      [Docket No. 2902] (as modified, amended, or supplemented from time to time, the “Disclosure Statement”), as
      applicable.
 22-10964-mg    Doc 3115   Filed 07/28/23 Entered 07/28/23 23:55:43       Main Document
                                       Pg 2 of 23



New York, New York                       /s/ Joshua A. Sussberg
Dated: July 28, 2023                     KIRKLAND & ELLIS LLP
                                         KIRKLAND & ELLIS INTERNATIONAL LLP
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                                         - and -

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                                         Ross M. Kwasteniet, P.C. (admitted pro hac vice)
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                                         Counsel to the Debtors and Debtors in Possession
22-10964-mg   Doc 3115   Filed 07/28/23 Entered 07/28/23 23:55:43   Main Document
                                     Pg 3 of 23



                                    Exhibit A

                    Schedule of Released and Exculpated Parties
22-10964-mg         Doc 3115       Filed 07/28/23 Entered 07/28/23 23:55:43                    Main Document
                                               Pg 4 of 23




    Pursuant to the Plan, the following parties shall be Released Parties and shall receive the benefit
of the releases provided in the Plan, in addition to the Released Parties specifically enumerated in
the Plan. 1 For the avoidance of doubt, no Releasing Party shall be permitted to assert any
Released Claim against any Released Parties after the Plan is confirmed. If any Holder of a
Claim or Interest opts out of the Plan’s third-party release provisions pursuant to the opt-out
procedures approved by the Court, such Holder shall not be a Releasing Party.

                       ADDITIONAL RELEASED AND EXCULPATED PARTIES
    1.    Each individual who is employed by the Debtors on the date the Disclosure Statement
          Order is entered to the extent that each such employee is not (1) later arrested, indicted,
          or found liable for bad acts or omissions in connection with his or her role with the
          Debtors, in which case any release provided by the Plan shall be null and void with
          respect to such employee and all statutes of limitations shall be tolled during such time;
          (2) a UCC Claims Stipulation Defendant; or (3) listed on the Schedule of Excluded
          Parties.




1    Capitalized terms used herein but not defined shall have the meanings given to such terms in the Joint Chapter
     11 Plan of Reorganization of Celsius Network LLC and its Debtor Affiliates [Docket No. 2807] (as the same may
     be amended, modified, revised, or supplemented from time to time, the “Plan”).



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22-10964-mg   Doc 3115   Filed 07/28/23 Entered 07/28/23 23:55:43   Main Document
                                     Pg 5 of 23



                                    Exhibit B

                    Alternative Dispute Resolution Procedures
22-10964-mg          Doc 3115         Filed 07/28/23 Entered 07/28/23 23:55:43                     Main Document
                                                  Pg 6 of 23




UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                              )
    In re:                                                    )        Chapter 11
                                                              )
    CELSIUS NETWORK LLC, et al., 1                            )        Case No. 22-10964 (MG)
                                                              )
                           Debtors.                           )        (Jointly Administered)
                                                              )

                     ALTERNATIVE DISPUTE RESOLUTION PROCEDURES

                                                    ARTICLE I.

                                                    PREAMBLE

        The ADR Procedures 2 are designed to promote the efficient resolution of certain disputed
prepetition claims against the Debtors and claims held by the Debtors, including preference
actions. Although the ADR Procedures encourage voluntary participation by Third Parties, they
do not compel parties that have not filed a proof of claim or otherwise subjected themselves to the
jurisdiction of the Bankruptcy Court to participate.

        The ADR Procedures provide persons or entities holding disputed claims the opportunity
to participate in a streamlined process with the goal of reducing administrative costs that detract
from all stakeholders’ recoveries and allowing for quicker distributions on account of claims
against the Debtors’ estates and the entities against which the Debtors hold claims. The ADR
Procedures facilitate this by establishing a standard methodology for informal and formal
negotiations, fostering settlement and liquidation of Participating Claims.

       Importantly, the Plan provides that disputed claims will not receive a distribution until all
disputes with respect to any such claim are resolved. Joint Chapter 11 Plan of Reorganization of
Celsius Network LLC and its Debtor Affiliates at Art. VII(J), In re Celsius Network LLC, et al.,
Case No. 22-10964 (MG) (Bankr. S.D.N.Y. June 15, 2023) [Docket No. 2807]. The Debtors and
the Committee believe that these ADR Procedures provide creditors and the Litigation
Administrator the ability to efficiently resolve disputed claims to maximize recoveries, reduce


1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Celsius Network LLC (2148); Celsius KeyFi LLC (4414); Celsius Lending LLC (8417); Celsius
      Mining LLC (1387); Celsius Network Inc. (1219); Celsius Network Limited (8554); Celsius Networks
      Lending LLC (3390); Celsius US Holding LLC (7956); GK8 Ltd. (1209); GK8 UK Limited (0893); and GK8
      USA LLC (9450). The location of Debtor Celsius Network LLC’s principal place of business and the Debtors’
      service address in these chapter 11 cases is 50 Harrison Street, Suite 209F, Hoboken, New Jersey 07030.
2     Capitalized terms used herein shall have the meaning set forth in Article II “Defined Terms” below. Capitalized
      terms used but not defined herein shall have the meaning set forth in the Plan.
22-10964-mg      Doc 3115      Filed 07/28/23 Entered 07/28/23 23:55:43              Main Document
                                           Pg 7 of 23



administrative expenses, and provide creditors with distributions quicker than in the traditional
claims resolution process.

       1.1.    Overview

        Celsius was founded in 2017 and was one of the first platforms that would allow users to
transfer their digital assets and (a) earn rewards on such digital assets and/or (b) take loans using
those transferred digital assets as collateral.

         Celsius’s primary operations consisted of: (a) financial services through which retail and
institutional users could (i) earn rewards on digital assets they transferred to Celsius, (ii) securely
store and access digital assets, (iii) borrow fiat currency supported by digital assets transferred to
Celsius, and (iv) send and receive cryptocurrency using Celsius’s CelPay services; and (b) bitcoin
mining.

        The Participating Claims are (1) unliquidated, disputed and/or contingent prepetition
claims asserted against one or more Debtors or (2) ADR-Eligible Claims held by the Debtors’
estates against third parties, including creditors of the Debtors. Prosecution of the Participating
Claims against the Debtors outside of the Bankruptcy Court is currently stayed by the Debtors’
Chapter 11 Cases or the Plan and Confirmation Order.

        Most of the potential Participating Claims will be disputed by the Litigation Administrator
and will have to be resolved by settlement or litigation. Litigating each independent Participating
Claim in a multitude of separate individual actions, however, could result in a significant
consumption of limited resources (judicial, the Litigation Administrator’s, and the Participating
Claimants’). The cost and delay associated with ordinary litigation procedures would not be in the
best interests of any Party involved. The ADR Procedures are designed to facilitate and incentivize
settlement and an efficient resolution of Participating Claims.

       1.2.    Summary of Procedures

         The ADR Procedures consist of five sequential steps: (i) an Initial Assessment Procedure;
(ii) a Settlement Offer Exchange Procedure; (iii) a Mediation Procedure; (iv) an Optional Binding
Arbitration Procedure; and (v) a Claim Satisfaction Procedure. For the avoidance of any doubt,
nothing in the ADR Procedures shall alter, amend, or otherwise modify the terms of the Debtors’
Insurance Policies.

        The Initial Assessment Procedure is intended to provide a mechanism for the Litigation
Administrator, Participating Claimants, and Third Party Participants, if any, to evaluate and
consensually resolve Participating Claims and any of the Litigation Administrator’s related claims
and causes of action prior to mediation. Under the Initial Assessment Procedure, after receiving
notification of their inclusion in the ADR Procedures, Participating Claimants will provide such
information to the Litigation Administrator as may be reasonably necessary to permit the Litigation
Administrator’s evaluation of the Participating Claim. Upon receipt, the Litigation Administrator
will determine if the Participating Claim gives rise to any related potential causes of action against
such Participating Claimant and/or Third Parties and, to the extent applicable, invite such Third
Parties to participate in the ADR Procedures. The Litigation Administrator and Third Party
Participants, if any, then have the opportunity to review the documents and information provided


                                                2
22-10964-mg        Doc 3115         Filed 07/28/23 Entered 07/28/23 23:55:43                     Main Document
                                                Pg 8 of 23



by the Participating Claimants to fully assess the validity and extent of any claims and/or damages
relating to the Participating Claim.

        The Settlement Offer Exchange Procedure is intended to provide the Litigation
Administrator, the Participating Claimants, and the Third Party Participants, if any, the opportunity
to exchange written settlement offers and engage in informal settlement negotiations after they
have evaluated the Participating Claim, and certain of the Litigation Administrator’s related causes
of action. If the Parties are unable to resolve the Participating Claim during this process, they may
proceed to Mediation.

        The Mediation Procedure is intended to provide a more formal mechanism for amicable
resolution of Participating Claims and any of the Litigation Administrator’s related causes of
action other than Excluded Claims. The Mediation Procedure is based upon generally accepted
mediation procedures of professional alternative dispute resolution organizations. Participating
Claimants shall be responsible for fifty (50%) percent of the costs and fees of the mediator, absent
prior written agreement. 3 If Third Parties participate in the Mediation Procedure, the costs and
fees of the mediator shall be equally divided among the Parties.

        The Optional Binding Arbitration Procedure is intended to provide a formal binding
mechanism for resolution of Participating Claims and any of the Litigation Administrator’s related
causes of action (other than Excluded Claims) simultaneously through joint binding arbitration.
The Optional Binding Arbitration Procedure is voluntary and shall only be initiated if all Parties
agree to participate. Unless the Parties agree otherwise, all costs and fees of the arbitrator shall be
equally divided among all participants to the arbitration.

                                              DEFINED TERMS

       Capitalized terms used herein without further definition, and variations thereof, shall have
the meanings set forth below unless the context otherwise requires.

        1.3.     “ADR Initiation Package” has the meaning set forth in Section 3.1.

        1.4.     “ADR Organization List” has the meaning set forth in Section 2.4.

        1.5.     “ADR Procedures” mean the alternative dispute resolution procedures as set forth
                 herein.

        1.6.     “Appointed ADR Organization” means the Approved ADR Organization
                 appointed to conduct either a mediation or arbitration for the Parties.

        1.7.     “Approved ADR Organizations” means those alternative dispute resolution
                 organizations and individuals on the ADR Organization List or consented to by the
                 Parties.


3 The Participating Claimant’s own costs, including attorneys’ fees, if any, shall be borne by the Participating
    Claimant. In no event shall the Litigation Administrator be responsible for any costs incurred by any entity other
    than the Litigation Administrator or the Approved ADR Organization.



                                                       3
22-10964-mg    Doc 3115      Filed 07/28/23 Entered 07/28/23 23:55:43              Main Document
                                         Pg 9 of 23



      1.8.    “Assessment Period” has the meaning set forth in Section 3.4.

      1.9.    “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101–
              1532, as now in effect or as may be amended hereafter and applicable to the Chapter
              11 Cases.

      1.10.   “Bankruptcy Court” means the United States Bankruptcy Court for the Southern
              District of New York having jurisdiction over these Chapter 11 Cases.

      1.11.   “Chapter 11 Cases” means the cases commenced under Chapter 11 of the
              Bankruptcy Code pending before the Bankruptcy Court with respect to each of the
              Debtors styled as In re Celsius Network LLC, et. al., Chapter 11 Case No. 22-10964
              (MG), Jointly Administered.

      1.12.   “Days” or “days” means calendar days unless otherwise defined herein. Days
              shall be counted as prescribed by Rule 9006 of the Federal Rules of Bankruptcy
              Procedure.

      1.13.   “Excluded Claim” means (a) claims for which the automatic stay under
              section 362 of the Bankruptcy Code was modified by prior order of the Bankruptcy
              Court to allow for litigation of the claim to proceed in another forum, (b) tax claims,
              (c) claims where there is a judgment entered or settlement already agreed to and
              signed by all applicable parties, including the Class Claim Settlement, (d) any
              declaratory judgment actions or any other actions regarding insurance coverage
              issues; (e) any Avoidance Action claims against ADR-Ineligible Potential
              Defendants (as defined in the Plan); and (f) claims subject to a separate order of the
              Bankruptcy Court providing for arbitration or mediation.

      1.14.   “General Unliquidated Disputed Claim” means a Participating Claim to the
              extent that the claim shall be treated as an unliquidated and/or disputed claim filed
              in these Chapter 11 Cases.

      1.15.   “Insurance Order” means the Final Order (I) Authorizing the Debtors to (A) Pay
              their Obligations under Prepetition Insurance Policies, (B) Continue to Pay
              Certain Brokerage Fees, (C) Renew, Supplement, Modify, or Purchase Insurance
              Coverage, and (D) Maintain their Surety Bond Program and (II) Granting Related
              Relief [ECF No. 524], entered in the Chapter 11 Cases.

      1.16.   “Insurance Policy” means an insurance policy that has been issued at any time to
              or provides coverage to the Debtors and/or all agreements, documents or
              instruments relating thereto and/or any agreements with third-party administrators.

      1.17.   “Insurer” means any company or other entity that issued or entered into an
              Insurance Policy with, or that affords coverage to, the Debtors for a Participating
              Claim.

      1.18.   “Liquidated Allowed Claim” means a Participating Claim to the extent that the
              claim has been resolved through the ADR Procedures in a manner that entitles the



                                              4
22-10964-mg    Doc 3115      Filed 07/28/23 Entered 07/28/23 23:55:43           Main Document
                                        Pg 10 of 23



              Participating Claimant to an allowed unsecured claim or claims to be paid on the
              terms set forth in the Plan.

      1.19.   “Litigation Administrator” shall have the meaning ascribed to such term in the
              Plan.

      1.20.   “Local Rules” means the Local Bankruptcy Rules for the Southern District of New
              York.

      1.21.   “Mediation Notice” has the meaning set forth in Section 4.5.

      1.22.   “Participating Claim” means any disputed, unliquidated, or contingent prepetition
              claim, other than Excluded Claims, evidenced by a timely filed proof of claim and
              that is selected by the Litigation Administrator, in their sole discretion, for
              resolution through the ADR Procedures, including claims or causes of action the
              Estates may have against ADR-Eligible Potential Defendants (as defined in the
              Plan); provided, subject to the limitations set forth below, that the Litigation
              Administrator may designate any claims (other than Excluded Claims) of creditors
              or other entities that are subject to the jurisdiction of the Bankruptcy Court for
              resolution through the ADR Procedures if the Litigation Administrator believes
              that, based on the nature of the potential claims, the ADR Procedures have a
              reasonable chance of successfully resolving the claims and the potential benefits
              outweigh the costs of participation. Notwithstanding the foregoing, any disputed
              postpetition administrative expenses, and any claims or counterclaims asserted by
              the Litigation Administrator other than Excluded Claims may be submitted to the
              ADR Procedures by agreement of the Litigation Administrator and the applicable
              claimant or by further order of the Bankruptcy Court.

      1.23.   “Participating Claimant” means any person or entity asserting a Participating
              Claim.

      1.24.   “Parties” means, with respect to a Participating Claim, the Litigation
              Administrator, the relevant Participating Claimant, and any relevant Third Party
              Participants (if applicable).

      1.25.   “Party” means, with respect to a Participating Claim, the Litigation Administrator,
              the relevant Participating Claimant, or a relevant Third Party Participant, as
              applicable.

      1.26.   “Plan” means the chapter 11 plan confirmed in these Chapter 11 Cases, including
              all schedules and exhibits thereto, and the documents set forth in the Plan
              Supplement, as may be modified, amended, or supplemented from time to time.

      1.27.   “Primary Parties” means, with respect to a Participating Claim, the Litigation
              Administrator and the relevant Participating Claimant.

      1.28.   “Settlement Offer Exchange Procedure” has the meaning set forth in the
              preamble of Section 4.



                                             5
22-10964-mg    Doc 3115      Filed 07/28/23 Entered 07/28/23 23:55:43            Main Document
                                        Pg 11 of 23



      1.29.   “Settlement Offer Period” has the meaning set forth in Section 3.4.

      1.30.   “Settlement Offer Period Closing” has the meaning set forth in Section 4.4.

      1.31.   “Settlement Offer Period Notice” has the meaning set forth in Section 4.4.

      1.32.   “Third Party” means any person or entity that the Litigation Administrator or
              Participating Claimant has or may have a claim against relating to any Participating
              Claim.

      1.33.   “Third Party Evaluation Period” has the meaning set forth in Section 3.3.

      1.34.   “Third Party Participant” means any Third Party that agrees to participate in the
              ADR Procedures by returning a signed Third Party Participation Agreement.

      1.35.   “Third Party Participation Agreement” means any written agreement between
              the Litigation Administrator and any Third Party Participant who accepts an
              invitation to participate in the ADR Procedures for a Participating Claim.

      1.36.   “Third Party Payable Claim” means a Participating Claim to the extent that the
              claim has been resolved through the ADR Procedures in a manner that entitles the
              Participating Claimant to receive partial or full satisfaction of the Participating
              Claim directly from a Third Party Participant.

      1.37.   “Valuation Form” means a form requesting such information as may be
              reasonably necessary to permit the Litigation Administrator’s evaluation of the
              Participating Claim or related causes of action, substantially in the form attached
              hereto as Exhibit 1.

      1.38.   “Valuation Information” means the Participating Claimant’s proof of claim and
              Valuation Form, and any other documents or information relating to the
              Participating Claim provided to the Litigation Administrator.




                                             6
22-10964-mg      Doc 3115      Filed 07/28/23 Entered 07/28/23 23:55:43            Main Document
                                          Pg 12 of 23



                                          ARTICLE II.

                                      ADMINISTRATION

       2.1.    Administrators.

       Subject to the terms hereof, the administration of the ADR Procedures will be coordinated
by the Litigation Administrator and their counsel.

       2.2.    No Modification of the Insurance Policies or the Insurance Order.

         Notwithstanding anything to the contrary in the ADR Procedures, any Third Party
Participation Agreement or any other form or document related to any of the foregoing, (i) nothing
shall in any way operate to, or have the effect of, impairing, altering, supplementing, changing,
expanding, decreasing, or modifying (a) the Insurance Policies and the terms and conditions
thereof and coverage or services provided thereby, (b) the rights, defenses or obligations of any
Insurer, (c) any rights or obligations of the Debtors arising out of or under any Insurance Policy,
or (d) the Insurance Order; (ii) to the extent of a conflict between the ADR Procedures, any Third
Party Participation Agreement or any other form or document related to any of the foregoing on
the one hand, and any Insurance Policy that could provide coverage or services for a Participating
Claim on the other hand, the terms of the Insurance Policy shall control, and nothing in the ADR
Procedures, any Third Party Participation Agreement or any other form or document related to any
of the foregoing shall excuse, or in any way alter, the Debtors’ performance under the Insurance
Policies; (iii) for all issues relating to insurance coverage and claims handling services, the
provisions, terms, conditions, and limitations of the Insurance Policies shall control the payment
of claims covered by any Insurance Policies; (iv) the failure of any Insurer to respond to any notice
provided in accordance with the ADR Procedures does not relieve the Debtors of their obligations,
if any, to provide an Insurer with further information and/or notices required by any applicable
Insurance Policy; (v) nothing shall operate to require any Insurer to indemnify or pay the liability
for any claim that it would not have been required to pay in the absence of the ADR Procedures;
(vi) nothing imposes a good faith obligation on any Insurer that does not otherwise exist under
applicable law or the Insurance Policies; and (vii) Insurers shall retain all rights, claims and
defenses to challenge any award pursuant to binding arbitration undertaken pursuant to the ADR
Procedures that alters the terms and conditions of any Insurance Policy, and under no
circumstances shall an Insurer be deemed a party to any binding arbitration unless it determines in
its sole discretion that it is permitted to participate under applicable law and elects to do so.

        Notwithstanding any other provision of these ADR Procedures, the rights, obligations and
defenses of any Insurers under any applicable surety bond, surety collateral agreement, surety
credit agreement, or surety indemnity agreement relating to the Debtors or the Participating Claims
are fully preserved, unchanged and unimpaired.

       2.3.    Option to Utilize Professionals.

       The Litigation Administrator is specifically authorized to retain professionals to assist in
evaluating the merits of each Participating Claim, in placing a dollar amount on each Participating
Claim, and in settling or otherwise resolving the Participating Claims pursuant to the ADR
Procedures.


                                               7
22-10964-mg      Doc 3115     Filed 07/28/23 Entered 07/28/23 23:55:43             Main Document
                                         Pg 13 of 23



       2.4.    Employment of Mediation and Arbitration Organizations.

        Attached to these ADR Procedures is a list of Approved ADR Organizations (the “ADR
Organization List”), which the Litigation Administrator may amend by providing notice to the
Participating Claimant of an amended list of Approved ADR Organizations. Subject to the
conditions set forth elsewhere herein, the Litigation Administrator shall retain an Approved ADR
Organization to conduct the Mediation Procedure or the Optional Binding Arbitration Procedure.
Effort will be made to conduct any Mediation Procedures in a location that is convenient for the
Litigation Administrator, the Participating Claimants, and, as applicable, Third Party Participants,
or via videoconference, at the election of any Party.

       2.5.    Participation in the ADR Procedures.

        All Participating Claims shall be subject to the provisions of these ADR Procedures,
subject to Section 2.11 or 2.12 below. Participation in the ADR Procedures shall in no way alter
the requirement that the Participating Claimant must have filed timely a proof of claim in these
Chapter 11 Cases against any of the Debtors; failure to file a proof of claim may result in
disallowance of such Participating Claimant’s claims against the Debtors. Participation in the
ADR Procedures shall in no way affect the Litigation Administrator’s ability to object to any
Participating Claim, or oppose any motion for relief from the automatic stay or from any
injunction contained in the Plan, that is not resolved through the ADR Procedures.

       Pursuant to these ADR Procedures, the Litigation Administrator may, but is not required
to, submit to mediation, any pending counterclaims or causes of action asserted by the Litigation
Administrator related to the Participating Claim that are not Excluded Claims with the consent of
the applicable Participating Claimant.

       No Party shall be required to employ counsel to participate in the ADR Procedures,
including to participate in mediation or arbitration pursuant to the ADR Procedures.

       2.6.    Effect of ADR Procedures on Pending Matters.

        Inclusion of any Participating Claim in the ADR Procedures shall automatically stay all
proceedings before the Bankruptcy Court, including but not limited to, discovery (other than
discovery conducted pursuant to these ADR Procedures), motions for relief from the stay or any
injunction contained in the Plan, pretrial hearing dates, and trial schedules related to the
Participating Claims. Such stay shall automatically terminate thirty (30) days after any
Participating Claim is removed from the ADR Procedures.

       2.7.    Acceptance of Settlement Offers.

       The Litigation Administrator shall have authority to settle or compromise all Participating
Claims and Causes of Action against Third Party Participants subject to the terms of the Plan.




                                               8
22-10964-mg      Doc 3115      Filed 07/28/23 Entered 07/28/23 23:55:43            Main Document
                                          Pg 14 of 23



       2.8.    Extensions.

        All deadlines established by the ADR Procedures with respect to any particular
Participating Claim may be extended by written agreement of the Litigation Administrator and the
applicable Participating Claimant, with notice to any Third Party Participants.

       2.9.    Service and Notices.

        To facilitate the timely completion of the ADR Procedures, all service and written notice
required herein, with the exception of the ADR Initiation Package (unless the Litigation
Administrator does not have a mailing address for the applicable Participating Claimant), may be
done via email. The Parties shall exchange email addresses at their earliest convenience. If any
Party does not wish to accept service via email, the Party shall notify all other Parties of such
preference in writing. Upon the other Parties’ receipt of such notice, email service upon such Party
shall no longer be valid.

       2.10.   Confidentiality and Non-Admissibility.

        Any settlement discussions by and between the Parties or positions taken by them during
compliance with the ADR Procedures shall remain confidential and shall not be admitted as
evidence in any subsequent proceeding or context, including, but not limited to, litigation of a
Participating Claim, pursuant to Rule 408 of the Federal Rules of Evidence and all similar rules
and are expressly determined by the provisions herein not to be admissions by any Party.
Notwithstanding the foregoing, if a Party alleges another Party has failed to participate in good
faith in the ADR Procedures or disputes that a settlement had been previously reached, then
settlement discussions may be used or admitted as evidence in any subsequent proceeding solely
with respect to those matters.

       2.11.   Failure to Comply with the ADR Procedures.

        If a Participating Claimant fails to comply with the ADR Procedures, negotiate in good
faith, or cooperate as may be necessary to effectuate the ADR Procedures, the Bankruptcy Court
may, after notice and a hearing, find such conduct to be in violation of the Plan or, with respect to
a Participating Claimant, an abandonment of or failure to prosecute the Participating Claim, or
both. Upon such findings, the Bankruptcy Court may, among other things, disallow and expunge
the Participating Claim, in whole or part, or grant such other or further remedy deemed just and
appropriate under the circumstances, including, without limitation, awarding attorneys’ fees, other
fees, and costs to the other party. The Litigation Administrator shall also participate in the ADR
Procedures in good faith.

       2.12.    Participating Claimant Opt Out Option.

        If a Participating Claimant does not believe the ADR Procedures are reasonably likely to
result in the resolution of its claim, within twenty-one (21) days of service of the ADR Initiation
Package it may serve a written request, which will be effective upon receipt by the Litigation
Administrator, for exclusion from the ADR Procedures; provided, however, that the Litigation
Administrator may file a motion with the Bankruptcy Court opposing such exclusion. Other than
with respect to the optional Binding Arbitration Procedure, a Participating Claimant may not opt


                                               9
22-10964-mg      Doc 3115       Filed 07/28/23 Entered 07/28/23 23:55:43              Main Document
                                           Pg 15 of 23



out following expiration of such twenty-one (21) day period without further order of the
Bankruptcy Court. For the avoidance of doubt, if within twenty-one (21) days of service of the
ADR Initiation Package, a Participating Claimant serves a written request for exclusion from the
ADR Procedures, such claim shall not be subject to the ADR Procedures absent entry of an order
of the Bankruptcy Court, and in no event may the Bankruptcy Court order such Participating
Claimant to attend binding arbitration.

       2.13.   Insurer Notice.

        In the event that an Insurance Policy requires that the Debtors to provide notice to an
Insurer of a Participating Claim, the Debtors shall provide notice to the applicable Insurer(s) (i) by
serving a copy of the corresponding ADR Initiation Package on the Insurer when it is served on
the Participating Claimant and (ii) at any time during the ADR process, when the notice
requirements of the Insurance Policy are triggered. If the Insurer elects, subject to the terms of the
Insurance Policy, at any time to exercise its right to control the defense or settlement of a
Participating Claim, the Insurer may elect to either (i) work with the Litigation Administrator, in
accordance with the terms of the Insurance Policy, to resolve the Participating Claim within these
ADR Procedures, or (ii) remove the Participating Claim from the ADR Procedures; provided that
the Insurer remove the Participating Claim from the ADR Procedures within the later of (i) the
time required by applicable state law or the applicable Insurance Policy for responses to claim
notices, or (ii) forty-five (45) days after the Insurer receives notice of the Participating Claim.

                                           ARTICLE III.

                            INITIAL ASSESSMENT PROCEDURE

        Subject to the provisions set forth herein, the Initial Assessment Procedure is designed to
foster inclusion of all appropriate Third Parties and to allow the Litigation Administrator and any
Third Party Participant to evaluate fully the Participating Claim and the Litigation Administrator’s
related causes of action other than Excluded Claims, in an expedited manner to facilitate
meaningful settlement negotiations.

       3.1.    The Litigation Administrator Shall Provide Notice.

        The Litigation Administrator shall initiate the ADR Procedures by serving upon each
selected Participating Claimant, at the address listed on the Participating Claimant’s most recently
filed proof of claim or amended proof of claim or, if no such address is available, the email address
of such Participating Claimant, if applicable, as well as upon any counsel of record, notice of the
ADR Procedures and their selection as a Participating Claimant, together with a copy of the ADR
Procedures and a Valuation Form (the “ADR Initiation Package”). For transferred claims, the
Litigation Administrator also shall serve a copy of the ADR Initiation Package on the transferee
identified in the notice of transfer of claim filed with the Bankruptcy Court. If a claim is transferred
after the Litigation Administrator’s service of the ADR Initiation Package on the Participating
Claimant, such subsequent transferee shall be bound by the ADR Procedures without further order
of the Bankruptcy Court.




                                                10
22-10964-mg      Doc 3115      Filed 07/28/23 Entered 07/28/23 23:55:43             Main Document
                                          Pg 16 of 23



       3.2.    The Participating Claimant Shall Provide Valuation Information.

        Unless otherwise agreed by the Litigation Administrator, each Participating Claimant shall
provide to the Litigation Administrator such information as may be reasonably necessary to permit
the Litigation Administrator’s evaluation of the Participating Claim or related claims or causes of
action. To ensure optimum efficiency and uniformity of treatment, such information shall be
provided pursuant to a standardized Valuation Form, provided that, should the Litigation
Administrator determine, in their sole discretion, that a standard Valuation Form is not applicable
to a particular Participating Claim, the Litigation Administrator shall have the authority to revise,
consistent with the ADR Procedures, the Valuation Form as the Litigation Administrator deems
appropriate for such claim. All completed Valuation Forms and accompanying documents must
be served on the Litigation Administrator with a copy of the Participating Claimant’s proof of
claim, if any, within thirty (30) days after service of the Valuation Form on such Participating
Claimant. A Participating Claimant’s provision of the Valuation Form and related documentation
does not prohibit, or diminish in any respect, the Participating Claimant’s rights to assert that
responsive material is privileged and not subject to disclosure.

       3.3.    Determination of Third Party Participation.

         Upon receipt of the Valuation Form, the Litigation Administrator shall have thirty (30)
days (the “Third Party Evaluation Period”), to evaluate whether the Participating Claim gives
rise to potential causes of action by the Litigation Administrator against any Third Parties or if the
inclusion of any Third Parties would be beneficial to the ADR process (e.g. parties that may also
be liable or insurance companies). Prior to the close of the Third Party Evaluation Period, the
Litigation Administrator may make one or more requests for supplementation or clarification of
the information supplied in the Valuation Information to assist in determining if the Participating
Claim gives rise to any related causes of action against Third Parties as provided for in Section
3.4. Should the Litigation Administrator determine that it would be beneficial to invite Third
Parties to be included in the ADR process for a Participating Claim, they shall have the right, but
not the duty, to invite any and all applicable Third Parties to participate in the ADR Procedures.
Should the Litigation Administrator elect to invite any Third Parties to participate, the invitation
to participate shall include a Third Party Participation Agreement, and notice that, if any Third
Party wishes to participate in the ADR Procedures with respect to the applicable Participating
Claim, it must agree in writing within fifteen (15) days of receipt. Receipt of such invitation shall
be deemed, and thus the time to respond shall begin, one business day following the date the
invitation was sent.

         If a Third Party accepts the Litigation Administrator’s invitation to participate in the ADR
Procedures, the Litigation Administrator shall immediately notify the Participating Claimant of:
(i) their election to extend a Third Party invitation and the Third Party’s acceptance thereof and
(ii) the revised end date for the Third Party Evaluation Period. The invitation for a Third Party to
participate in the ADR Procedures shall expire and be deemed rejected if a Third Party has not
returned a signed Third Party Participation Agreement within fifteen (15) days of receipt; provided
that if the Primary Parties agree to extend the time to respond, the invitation for a Third Party to
participate in the ADR Procedures shall expire and be deemed rejected if a Third Party has not
returned a signed Third Party Participation Agreement by the agreed upon date within the extended
Third Party Evaluation Period. Prior to the close of the Third Party Evaluation Period, if the



                                               11
22-10964-mg      Doc 3115     Filed 07/28/23 Entered 07/28/23 23:55:43             Main Document
                                         Pg 17 of 23



Litigation Administrator determines that they will not extend an invitation to one or more Third
Party to participate in the ADR process, the Parties may, but are not required to, proceed directly
to the Assessment Period (as defined below). Upon receipt of a signed Third Party Participation
Agreement, the Litigation Administrator shall provide the Valuation Information to such Third
Party Participant. Unless previously agreed otherwise, in writing, by the Litigation Administrator,
by participating in the ADR Procedures, the Third Party Participant submits to the jurisdiction of
the Bankruptcy Court to determine all claims related to the Participating Claim, including
counterclaims or related causes of action against Third Parties, other than any Excluded Claims.
At all times throughout the ADR Procedures, all Valuation Information and other information
exchanged by the Parties, shall be considered information exchanged in compromise negotiations
governed by Rule 408 of the Federal Rules of Evidence and Local Rule 9019-1.

       3.4.    Evaluation of Participating Claims and Related Causes of Action.

        Upon the close of the Third Party Evaluation Period, the Litigation Administrator and any
Third Party Participants shall have thirty (30) days (the “Assessment Period”) to evaluate each
Participating Claim and the Litigation Administrator’s related causes of action against the
Participating Claimant and any Third Party Participant based upon all relevant factors under the
traditional principles of liability and damages under non-bankruptcy law. The Litigation
Administrator and any Third Party Participants shall review all materials submitted and in such
review shall not be bound by the rules governing the admission of evidence in courts of law. Prior
to the close of the Assessment Period, the Litigation Administrator and each Third Party
Participant may request additional information from the Participating Claimant following the
procedure described in Section 3.5 below. Within seven (7) days of the close of the Assessment
Period, the Litigation Administrator shall provide written notice to the Participating Claimant and
any Third Party Participants that the Assessment Period has ended and that the sixty (60) day
informal settlement negotiation period (the “Settlement Offer Period”) has begun
(the “Settlement Offer Period Notice”). The Settlement Offer Period Notice shall include notice
of the applicable deadlines set forth in the Settlement Offer Exchange Procedure below.

       All oversight mechanisms of the Litigation Administrator established in the Plan shall be
binding on the Litigation Administrator under these ADR Procedures.

       3.5.    Requests for Additional Information.

        The Litigation Administrator and any Third Party Participants may make one or more
requests for supplementation or clarification of information supplied in the Valuation Information
to assist in a good faith evaluation of the Participating Claim and the Litigation Administrator’s
related causes of action against the Participating Claimant and any Third Party Participant. The
Assessment Period shall be extended until thirty (30) days after the date the Participating Claimant
serves a written response to any initial request for supplemental information upon all participating
Parties (subsequent requests for additional information shall not extend the Third Party Evaluation
Period or Assessment Period, unless otherwise agreed by the Parties).




                                              12
22-10964-mg      Doc 3115      Filed 07/28/23 Entered 07/28/23 23:55:43             Main Document
                                          Pg 18 of 23



                                          ARTICLE IV.

                    SETTLEMENT OFFER EXCHANGE PROCEDURE

        Subject to the provisions set forth herein, the Settlement Offer Exchange Procedure is
designed to allow the Parties to attempt to consensually settle the Participating Claim, and the
Litigation Administrator’s related causes of action against the Participating Claimant and any
Third Party Participants, by exchanging written settlement offers and engaging in informal
negotiations.

       4.1.    Exchange of Written Settlement Offers.

        Within seven (7) days of service of the Settlement Offer Period Notice, the Litigation
Administrator and/or any Third Party shall make good faith offers of settlement based upon their
evaluation of the Participating Claim and the Litigation Administrator’s related causes of action
against the Participating Claimant and any Third Party Participants. Third Party Participant
settlement offers may be for all or a portion of the damages asserted in a Participating Claim and,
at the Third Party Participants’ discretion, may cover both the Litigation Administrator’s causes
of action against the Third Party Participant and the Participating Claimants’ direct causes of action
against the Third Party Participant, if any. Third Party Participant settlement offers shall be served
on the Litigation Administrator and the Participating Claimant. If a Third Party Participant
determines that it has no liability to any Party, it shall provide a concise statement explaining such
determination, rather than a good faith offer of settlement. If no Third Party is participating in the
ADR Procedures for a particular Participating Claim or if there is no Third Party settlement offer
provided, the Litigation Administrator shall make a good faith offer of settlement based upon their
evaluation of the Participating Claim and any related causes of action that are subject to these ADR
Procedures.

        The only permitted responses to a settlement offer are: acceptance of the settlement offer
or rejection of the settlement offer coupled with a counteroffer served to all applicable Parties
within seven (7) days of receipt of such offer. All written settlement offers and counteroffers by
any Party shall remain open for seven (7) days and may be accepted within seven (7) days of
receipt. Thereafter the Parties may exchange written counteroffers until such time as they have
entered into a settlement agreement or reached an impasse.

       4.2.    Informal Negotiations.

        The Parties shall use reasonable efforts to resolve consensually the Participating Claim and
the Litigation Administrator’s related causes of action against the Participating Claimant and any
Third Party Participants during the Settlement Offer Period and are encouraged to schedule
settlement conferences or telephonic settlement conferences with each other at mutually
convenient times.

       4.3.    Settlement.

        The Parties have significant leeway to structure settlement agreements to include providing
Participating Claimants with the right to receive any combination of Liquidated Allowed Claims
and Third Party Payable Claims as well as waivers of the Litigation Administrator’s and/or a


                                               13
22-10964-mg        Doc 3115        Filed 07/28/23 Entered 07/28/23 23:55:43                      Main Document
                                              Pg 19 of 23



Participating Claimant’s causes of action. 4 For the avoidance of doubt, the Litigation
Administrator shall be provided the ability to resolve and settle claims against creditors. In many
instances, settlements may require proportional division of settlement amounts between multiple
Participating Claimants or specific damages within a single Participating Claim, and nothing
herein shall prevent the Parties from structuring partial settlements accordingly.

        The Litigation Administrator may, at any given time, if they believe it economically
beneficial and administratively convenient, offer to settle the Participating Claim for amounts
approximating the cost of administering such claims in lieu of incurring the cost and expense
thereof. Nothing herein shall limit the ability of a Participating Claimant and the Litigation
Administrator to settle a Participating Claim by mutual consent at any time.

        4.4.     Close of Settlement Offer Period.

       Unless the Parties have agreed to extend the Settlement Offer Period, the Settlement Offer
Period shall close forty-five (45) days from the service of the Settlement Offer Period Notice
(the “Settlement Offer Period Closing”).

       Upon the Settlement Offer Period Closing, the Litigation Administrator and/or any Third
Party Participant may reject the Participating Claim and/or the Litigation Administrator’s related
causes of action respectively.

(a)     If the Litigation Administrator rejects the Participating Claim, they shall so advise the
Participating Claimant, and any Third Party Participants, and provide a statement specifying the
basis for such rejection. Upon such rejection by the Litigation Administrator, the Participating
Claim shall be removed from the ADR Procedures and treated as a Disputed Claim and shall be
resolved in accordance with the Plan. Upon such rejection by the Litigation Administrator, the
Litigation Administrator reserves their rights to file an objection or take any other such action with
respect to such Participating Claims in accordance with the Bankruptcy Code, Bankruptcy Rules,
or Local Rules.

(b)     If a Third Party Participant rejects any liability relating to a Participating Claim, the Third
Party Participant shall no longer participate in the ADR Procedures for such Participating Claim.
If the Litigation Administrator does not reject the Participating Claim, however, the Litigation
Administrator, the Participating Claimant, and any remaining Third Party Participants may
proceed with the ADR Procedures without the rejecting Third Party Participant.

        4.5.     Initiation of the Mediation Procedure.

         If the ADR Procedures have not been terminated in accordance with Section 4.4 hereof,
the Litigation Administrator shall have fifteen (15) days from the Settlement Offer Period Closing
to initiate the Mediation Procedure by notifying the Participating Claimant and any Third Party
Participants that such Parties have seven (7) days from service of such notice to select an Approved


4 Under no circumstances may the Participating Claimant and the Third Party Participant enter into a settlement
    agreement involving the Litigation Administrator causes of action against the Third Party Participant without the
    written consent of the Litigation Administrator.



                                                      14
22-10964-mg         Doc 3115        Filed 07/28/23 Entered 07/28/23 23:55:43                      Main Document
                                               Pg 20 of 23



ADR Organization and notify the Litigation Administrator of such appointment (the “Mediation
Notice”). The Litigation Administrator shall include a current copy of the list of Approved ADR
Organizations in the Mediation Notice.

                                                  ARTICLE V.

                                       MEDIATION PROCEDURE

        Upon consent of the Participating Claimant, the Litigation Administrator, and any Third
Party Participants, the Participating Claim and the Litigation Administrator’s related causes of
action against the Participating Claimant and any Third Party Participants, if any, may be referred
to mediation at any time after entry of these ADR Procedures. Unless the Parties agree otherwise
and absent prior written agreement, if there is no Third Party Participant, the Litigation
Administrator and the Participating Claimant shall each be responsible for fifty (50%) percent of
the applicable mediation costs. 5 Unless the Parties agree otherwise and absent prior written
agreement, if one or more Third Parties are participating, the Litigation Administrator, the
Participating Claimant and the Third Party Participants shall divide the costs and fees of the
mediator evenly among them. The Litigation Administrator, the Participating Claimant and the
Third Party Participants shall make appropriate arrangements with the mediator for the payment
of the mediator’s estimated fees and costs. The Litigation Administrator’s share of any costs and
fees shall be paid in the ordinary course of the Litigation Administrator’s business.

         5.1.     Appointment of a Mediator.

        Upon the Litigation Administrator’s service of the Mediation Notice, the Litigation
Administrator, the Participating Claimant and any Third Party Participants shall make a good faith
effort to identify a mutually agreeable ADR Organization from the list of Approved ADR
Organizations. If after seven (7) days from the service of the Mediation Notice an Approved ADR
Organization has not been selected, the Litigation Administrator shall have the right to select any
Approved ADR Organization. Promptly after the Approved ADR Organization has been selected,
the Litigation Administrator shall notify the Appointed ADR Organization of its selection and refer
the matter to the Appointed ADR Organization for mediation. Thereafter, the Parties and the
Approved ADR Organization shall work in good faith to select the individual mediator at the
Approved ADR Organization.

         5.2.     ADR Organization Procedures.

         Upon referral of the Participating Claim to mediation, the Appointed ADR Organization
shall (i) follow its procedures with respect to the appointment of a mediator who resides in, or is
familiar with the law of, the state or other relevant jurisdiction governing the Participating Claim,
and (ii) provide notice to the Litigation Administrator, Participating Claimant, and Third Party
Participants, if any, of such appointment. The mediation shall be conducted at such location as is
mutually agreed by the Parties, or via electronic remote means at the election of any Party.

5 Mediation Costs include only those costs and fees associated with retaining a mediator. The Litigation Administrator
    shall not be responsible for any of the Participating Claimants’ costs or any Third Party Participants’ costs
    associated with the mediation, if any, or any attorneys’ fees other than the Litigation Administrator’s attorneys’
    fees.



                                                      15
22-10964-mg      Doc 3115      Filed 07/28/23 Entered 07/28/23 23:55:43            Main Document
                                          Pg 21 of 23



Regardless of any rules or procedures of the Appointed ADR Organization to the contrary, (i) no
person shall serve as a mediator unless he or she has been trained in mediation in a recognized
program such as those of the American Arbitration Association or has equivalent practical
experience in the field of mediation or is otherwise agreeable to the Parties, (ii) any person who
serves as a mediator shall be an impartial, neutral person, (iii) no person shall serve as a mediator
if he or she has any financial or personal interest in the proceedings or, except where otherwise
agreed by the Parties, in any related matters, and (iv) upon appointment, the respective mediator
shall disclose any circumstances likely to create a reasonable inference of bias or prevent a prompt
hearing or conference with the Parties. If the respective mediator discloses circumstances likely
to create a reasonable inference of bias, a Party may object to the appointment of such mediator
and another mediator will be chosen in a manner consistent with the ADR Procedures. A person
serving as a mediator shall not testify as a witness or be subject to any discovery in any subsequent
proceeding concerning the same or any other Participating Claim.

       5.3.    Conducting the Mediation.

        Mediation of Participating Claims shall be handled by the Appointed ADR Organization
in the order received to the extent practicable. Any Party may be represented by legal counsel,
although the participation of legal counsel shall not be required for the conduct of the mediation.
The mediator shall meet with the Parties or their respective legal representatives, individually and
jointly for a conference or series of conferences as determined by the mediator. The Participating
Claimant, the Litigation Administrator, and Third Party Participants, if any, or their respective
authorized representatives, must be present at the conference. The mediator may review the
Participating Claim, the positions of the Parties, the prior negotiations between the Parties, all
correspondence between the Parties during the Settlement Offer Period, and such additional
information as the Parties may wish to submit, to aid a fair and equitable settlement. At least
seven (7) days prior to the mediation conference, the Parties shall each submit to the mediator a
concise confidential statement outlining each party’s position on settlement value, which shall not
be shared with the other Parties to the mediation and shall be deemed to be privileged as
compromise and settlement negotiations pursuant to Rule 408 of the Federal Rules of Evidence
and Local Rule 9019-1. The mediator may, without court order, modify any or all of the
procedures related to written submissions.

       5.4.    Conclusion of Mediation/Mediated Settlement.

        The mediator will work with the Parties toward reaching an acceptable, reasonable offer of
settlement. The mediator shall not have the authority to impose a settlement upon the Parties. The
Parties shall make reasonable efforts to commence mediation within thirty (30) days after
appointment of a mediator. Unless otherwise agreed by the Parties, the mediation process will
terminate not later than six (6) months after the date of referral to the Appointed ADR
Organization. If the Parties do not agree to extend the mediation process or otherwise resolve the
Participating Claim, and all participating Parties have rejected the option to participate in binding
arbitration, the ADR Procedures shall automatically terminate, and the Participating Claim shall
become a Disputed Claim and be treated in accordance with the Plan. All settlement methods
available during the Settlement Offer Exchange Period as described above in Section 5.3 shall be
available during mediation.




                                              16
22-10964-mg       Doc 3115      Filed 07/28/23 Entered 07/28/23 23:55:43                Main Document
                                           Pg 22 of 23



                                            ARTICLE VI.

                    OPTIONAL BINDING ARBITRATION PROCEDURE

        Upon written consent of the Participating Claimant, the Litigation Administrator, and any
Third Party Participants, the Participating Claim may be referred to binding arbitration at any time
after entry of these ADR Procedures. Unless the Parties agree otherwise, the Participating
Claimant, the Litigation Administrator and the Third Party Participants shall divide the costs of
binding arbitration evenly among them. The Participating Claimant, the Litigation Administrator,
and Third Party Participants shall make appropriate arrangements with the Appointed ADR
Organization for direct payment of their portions of the estimated costs.

        6.1.    Consent of the Parties.

        Any Party may request in writing that the others consent to the Optional Binding
Arbitration Procedure, which request shall also be consented to by the requesting Party; provided
that such a request shall be deemed rejected if the other Parties do not accept such request within
ten (10) days. Such request shall include consent to appoint one or more of the Approved ADR
Organizations as the Appointed ADR Organization. In the event all Parties consent to binding
arbitration, and selection of the Appointed ADR Organization, the Litigation Administrator shall
refer the Participating Claim, and their related causes of action against the Participating Claimant
and any Third Party Participants, to the Appointed ADR Organization within seven (7) days of
such consent. Thereafter, the Parties and the Approved ADR Organization shall work in good
faith to select the individual arbitrator at the Approved ADR Organization within thirty (30) days
after the referral to arbitration. Such proceedings shall be commenced, to the extent practicable,
within thirty (30) days after the date the arbitrator is appointed. The arbitration shall be conducted
at such location as is mutually agreed by the Parties, or via electronic remote means at the election
of any Party.

        6.2.    Appointment of Arbitrators.

        All arbitration proceedings shall be administered by one of the Approved ADR
Organizations. Arbitrators shall be appointed to particular matters by the Appointed ADR
Organization pursuant to its rules and procedures, provided however, that (i) any person who
serves as an arbitrator shall be an impartial, neutral person, (ii) no person shall serve as an arbitrator
if he/she has any financial or personal interest in the proceedings or, except when otherwise agreed
by the Parties, in any related matters, and (iii) upon accepting an appointment, the respective
arbitrator shall disclose any circumstance likely to create a reasonable inference of bias or prevent
a prompt hearing or conference with the Parties. If the respective arbitrator discloses
circumstances likely to create a reasonable inference of bias, a Party may object to the appointment
of such arbitrator, and another arbitrator will be chosen in a manner consistent with the ADR
Procedures.

        6.3.    Applicable Law and Procedure.

       The arbitration shall be conducted in accordance with applicable law, which shall be
presumed to be the Federal Arbitration Act, Title 9, United States Code, unless the Bankruptcy
Court determines on motion of any Party that another jurisdiction’s law relating to arbitration


                                                 17
22-10964-mg        Doc 3115        Filed 07/28/23 Entered 07/28/23 23:55:43                      Main Document
                                              Pg 23 of 23



should govern the proceeding. The arbitration shall be conducted pursuant to the applicable rules
and procedures of the American Arbitration Association, or of the corresponding provisions of the
Appointed ADR Organization’s rules and procedures, if another organization is selected.

        6.4.     Arbitration Administrative Expenses.

        The Litigation Administrator’s share of any costs and arbitration fees shall be paid in the
ordinary course of the Litigation Administrator’s business; provided, however, that the arbitrator
shall in his or her sole discretion assess fees and costs against any Party for delaying or abusing
the arbitration procedures set forth herein to the extent so provided in the applicable organization’s
applicable rules.

        6.5.     Arbitration Award.

        The amount of the award shall be within the discretion of the arbitrator; provided that the
arbitrator may not award the Participating Claimant a claim in excess of the amount of the
Participating Claimant’s claim as set forth in the Participating Claimant’s proof of claim or, if not
liquated therein, in the Participating Claimant’s Valuation Form. The Arbitrator shall specify if
any awarded claim, or any portion thereof, is to be treated as a Liquidated Allowed Claim or Third
Party Payable Claim. No Party shall have the right to appeal an arbitration award except on the
grounds set forth in Section 10 of the Federal Arbitration Act. The reference to Local Rule 9019-
1 and specifically Section 9(B)(1) of the Procedures Governing Mediation of Matters and the Use
of Early Neutral Evaluation and Mediation/Voluntary Arbitration in Bankruptcy Cases and
Adversary Proceedings are not applicable, and there shall be no right to a trial de novo. Any award
shall be subject to further oversight by the Bankruptcy Court pursuant to the Plan, including any
distribution of proceeds. Under no circumstances may any Participating Claimant seek to enforce
any arbitration award against the Litigation Administrator without further order of the Bankruptcy
Court.

                                                ARTICLE VII.

                               CLAIM SATISFACTION PROCEDURE

      All settled Participating Claims will result in the Participating Claimant receiving an
Allowed Claim (and not a judgment against the Debtors or the Litigation Administrator). Each
Allowed Claim shall be treated in accordance with the Plan. 6




6 Nothing herein shall modify or enhance, in any way, the Litigation Administrator’s general duty to maximize the
    value of the estate or require the Litigation Administrator to prosecute potential causes of action against Third
    Parties if they do not believe it to be in the best interests of the estate.



                                                      18
